                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 HANNAH ASHROOK,                                   )
                                                   )
         Plaintiff,                                )
                                                   )       No. 1:24-CV-165-CLC-SKL
 v.                                                )       JURY DEMAND
                                                   )
                                                   )
 MEIGS COUNTY TENNESSEE,                           )
 ET AL.,                                           )
                                                   )
         Defendants.                               )

        UNOPPOSED MOTION TO EXTEND SCHEDULING ORDER DEADLINES

         Comes NOW Defendant Ben Christian (“Defendant”, or Defendant Christian”), by and

 through undersigned counsel, pursuant to Rule 16(b) of the Federal Rules of Civil Procedure,

 and LRCP 16.1(a),and for good cause shown, respectfully requests that this Honorable Court

 modify the Scheduling Order in this case and extend current deadlines for both the completion of

 all discovery for purposes of resolving the issue of judicial immunity and the deadline for filing

 dispositive motions related to the issue of judicial immunity.

 In support of his Motion, Defendant Christian would show as follows:

      1. On August 5, 2024, the Court entered a Scheduling Order (Doc. 17) setting various

         pretrial deadlines. The Scheduling Order did not set the case for trial. Instead, the

         Scheduling Order notes that the Court will hold an additional scheduling conference or

         conferences after issuing its decision on judicial immunity. (Doc. 17, PageID#94).

      2. The parties in this case and their counsel have worked diligently and in good faith to

         complete all discovery relating to the issue of judicial immunity by October 31, 2024.




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    3. It has very recently become apparent that the parties need additional time to complete all

       discovery necessary to address the issue(s) of judicial immunity. Namely, additional time

       is needed to take the deposition of Defendant Ben Christian.

    4. The parties have coordinated to schedule numerous discovery depositions, including the

       deposition of Ben Christian. It is believed that the parties will complete all discovery

       depositions on the issue of judicial immunity within the current deadline, except for the

       deposition of Defendant Ben Christian.

    5. Defendant Ben Christian recently underwent an emergency Appendectomy, and for a

       significant period of time, was unable to communicate with his counsel of record to the

       extent that a party would normally communicate regarding depositions and other

       scheduling issues in a lawsuit. He has returned to work and only recently became aware

       of a scheduling conflict on the date that the parties agreed to schedule discovery

       depositions.

    6. Defendant Christian is scheduled to attend a weeklong training for Field Training

       Officers the week of October 14, 2024, at an out-of-town law enforcement agency. This

       training is pre-paid and non-refundable. It is not a training opportunity that is routinely

       available and cannot be rescheduled. For those reasons, Mr. Christian is unavailable

       during the week that other discovery depositions are scheduled in this case.

    7. Counsel for all parties have discussed other possible dates to take Ben Christian’s

       deposition before the October 31, 2024, discovery deadline, but counsel on this case have

       no other mutually available dates for taking Ben Christian’s deposition.

    8. Undersigned counsel would show that neither Plaintiff’s counsel nor any other attorney

       of record in this case oppose this Motion, and the parties agree that a brief, 30-day




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        extension of the deadline for completing all discovery related to judicial immunity and a

        commensurate extension of the deadline for filing dispositive motions on the issue of

        judicial immunity is appropriate to allow the parties to complete the deposition of Ben

        Christian.

    9. The parties agree that no party in this case will be prejudiced by an extension of the

        remaining deadlines in the Scheduling Order.



 WHEREFORE, Defendant Ben Christian moves this Honorable Court for a 30-day extension of

 the deadline to complete all discovery related to judicial immunity until November 29, 2024, and

 a commensurate extension of the deadline for filing dispositive motions related to judicial

 immunity until December 31, 2024.

        Respectfully Submitted this 8th day of October 2024.


                                      LAW OFFICE OF W. ADAM IZELL, PLLC

                                      /s/ W. Adam Izell                                .
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 8, 2024, a copy of the foregoing document was filed
 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be served via
 regular U.S. Mail. Parties may access this filing through the Court’s electronic filing system

                                                ____/s/ W. Adam Izell__
                                                W. ADAM IZELL, ESQ.




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